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VA 2-076-204

Effective Date of Registration:
August 15, 2016

Acting United States Register of Copyrights and Director

Title of Work: — Permitopia

Completion/Publication

Year of Completion: 2015
Date of Ist Publication: April 22, 2015
Nation of 1“ Publication: | United States

© Author: Derek DeYoung
Author Created: 2-D artwork
Citizen of: United States
Domiciled in: | United States

Conynght Claimant |

| Copyright Claimant: Derek DeYoung

c/o Fox Rothschild LLP, 222 So. 9th St., Ste. 2000, Minneapolis, MN, 55402,
United States

“Timothy. C. Matson
a 03, 2017

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been made a part of the Copyright Office records. Registration Number

VA 2-076-246

Effective Date of Registration:
August 15, 2016

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Acting United States Register of Copyrights and Director

Title of Work: | Grumpy Barracuda

Completion/Publication

ate

Year of Completion: 2015
Date of Ist Publication: _ November 29, 2015
Nation of 1°* Publication: United States

Author

° Author: Derek DeYoung
Author Created: 2-D artwork
Citizen of: United States
Domiciled in: United States

#7 Copyright Claimant

- Copyright Claimant? Bron DeYoung
~ c/o Fox Rothschild LLP, 222 So. 9th St., Ste. 2000, Minneapolis, MN, 55402,
- United States

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been made a part of the Copyright Office records. Registration Number

VA 2-076-270

Effective Date of Registration:
August 15, 2016

Acting United States Register of Copyrights and Director

Title of Work: — 4 Panel — Brown October

Completion/Publication

Year of Completion: — 2015
Date of Ist Publication: November 11, 2015
Nation of 1%t Publication: United States

e Author: Derek DeYoung
Author Created: 2-D artwork
_ Citizen of: | United States
) Domiciled in: United States

2 Copyright Claimant

- Copyright Claimant: | - Derek DeYoung

c/o Fox Rothschild LLP, 222 So. 9th St., Ste. 2000, Minneapolis, MN, 55402,
United States

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HOS Date - Apri 03, 2017.

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Effective date of
Aas A | Mente registration:

Register of Copyrights, United States of America October 23, 2014

Title
Title of Work: Trout Confetti 4

Completion/ Publication
Year of Completion: 2012

Date of 1st Publication: May 25, 2012 Nation of 1st Publication: United States

Author: Derek DeYoung
Author Created: 2-D artwork

United States ) Domiciled in: United States
Copynsnt canst ne nee ee
Copyright Claimant: Derek DeYoung

AOR Piet ater” Porat apt c/o Lommen Abdo, P.A., 80 So. 8th Street, Ste. 2000, Minneapolis, MN,
SS ey) 555.402; United States

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Name: Timothy C. Matson
Date: October 23, 2014

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been made a part of the Copyright Office records. Registration Number

Uy VA 1-934-679
aun A. Fehon te 58

Register of Copyrights, United States of America October 23, 2014

Title

Title of Work: Abstract Brookie Flank

Completion/ Publication
Year of Completion: 2012

Date of Ist Publication: November 27, 2012 Nation of 1st Publication: United States

Author: Derek DeYoung
Author Created: 2-D artwork

Citizen of: United States Domiciled in: United States

| Copyright ennank:
re) ppyven Claimant: Derek DeYoung

c/o Lommen Abdo, P.A., 80.So. 8th Street, Ste. 2000, Minneapolis, MN,
55402, United States

Certification ————
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“Date: | October 23, 2014
~ Applicant’ Tracking N N umber: 402 15- OL

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identified below. The information on this certificate has

been made a part of the Copyright Office records. Registration Number

VA 1-934-681
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Register of Copyrights, United States of America October 23, 2014

Title
Title of Work: Fab Four - Trout

Completion/ Publication
Year of Completion: 2012

Date of ist Publication: November 30, 2012 Nation of Ist Publication: United States

Author: Derek DeYoung
Author Created: 2-D artwork

) Citizen of: United States Domiciled in: _ United States
Copyright Claimant: Derek DeYoung

c/o Lommen Abdo, P.A., 80 So. 8th Street, Ste. 2000, Minneapolis, MN,
55402, United States

Certification ——

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: Timothy C Maison
Date: October 23, 2014
Number: 4021501

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identified below. The information on this certificate has

been made a part of the Copyright Office records. Registration Number

VA 1-934-684
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Register of Copyrights, United States of America October 23, 2014

Title of Work: Fab Four - Alaska

Year of Completion:
Date of Ist Publication: December 20, 2012 Nation of 1st Publication: United States

Author
Author: Derek DeYoung

Author Created: 2-D artwork

Citizen of: | United States Domiciled in: United States

_ Copyright claimant
eR: a Copyright Claimant: Derek DeYoung

) c/o Lommen Abdo, P.A., 80 So. 8th Street, Ste. 2000, Minneapolis, MN,
55402, United States

Certification ~——
Pe ei sy Names Timothy C. Matson’
Fe Date: | October 23, 2014»
Applicant's Tracking Number: 40215-01

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identified below. The information on this certificate has

been made a part of the Copyright Office records. Registration Number

VA 1-934-603
tts Effective date of

registration:

Register of Copyrights, United States of America October 23> 2014

Title
Title of Work: 4 in 1 Full - Brown

Completion / Publication
Year of Completion: 2009

Date of Ist Publication: July 16, 2009 Nation of 1st Publication: United States

Author: Derek DeYoung
Author Created: 2-D artwork

Citizen of: United States Domiciled in: United States

Copyright claimant sss
| Copyright Ctaliant; Derek De Young

c/o Pommen Abdo, P.A., 80 So. 8th Street, Ste. 2000, Minneapolis, MN,
55402, United States

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Name: ‘Timothy ro Matson
- October 23, 2014

© 40215-01.

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Office in accordance with title 17, United States Code,
attests that registration has been made for the work
identified below. The information on this certificate has

been made a part of the Copyright Office records.

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Register of Copyrights, United States of America

Title of Work: Abstract Tarpon Flank — Keys (Sunlight)
Tiger Musky Flank

Abstract Tarpon Flank — Blue

Abstract Tarpon Face

Abstract Tarpon Face — Blue

Eagle With Trout

Wahoo Flank
4 in 1 Full — Mother's Day Hatch
Abstract Cutthroat — Slough Creek
Abstract Brown — Red Spots
Abstract Sea Trout
Abstract Brown — Viking
_ Atlantic Salmon — |
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Registration Number

VA 1-970-693

Effective Date of Registration:
October 09, 2013

 
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Office in accordance with t
attests that registration has been made for the work
Registration Number

‘dentified below. The information on this certificate has
VA 1-992-855

been made a part of the Copyright Office records.
Effective Date of Registration:

SI A. Tee June 16, 2014

United States Register of Copyrights and Director

Title of Work: 41n 1 - Northern Rockies, et al.

Content Title: 4 in 1 - Northern Rockies

Abstract Rainbow Flank - Purple (Updated)

Completion/Publication

Year of Completion: 2014
Date of 1st Publication: May 06, 2014

Nation of 1%t Publication: United States

Author

° Author: Derek DeYoung

Author Created: 2-D artwork
Domiciled in: United States

Copyright Claimant eo

| Copyright Claimant: Derek DeYoung
; 5 eee c/o Lommen Abdo, P.A., 80 So. 8th Street, Ste. 2000, Minneapolis, MN, 55402,

Darren States

“Limitation of copyright claim

“some ¢ artwork af aaa Rainbow flank Purple previously registered

Yes”
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4 in 1 | Northem Rockies is all new artwork; revised 2-D artwork for Abstract

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Page 1 of 2

 
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Office in accordance with title 17, United States Code,
attests that registration has been made for the work
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‘dentified below. The information on this cert Registration Neunber

been made a part of the Copyright Office records.
VA 1-934-685

: Effective date of
res A TUL, te registration:

Register of Copyrights, United States of America October 9, 2013

Title of Work: Henrya€™s Fork Riser
Contents Titles: Henrya€™s Fork Riser

Abstract Steelhead Flank

Year of Completion:

Date of 1st Publication: December 27, 2012 Nation of 1st Publication: United States

Author: . Derek De Young

Author Created: 2-D artwork

Domictled a United States

"Copyright ¢ Claimant: Derek DeYoung

_c/o Lommen, Abdo, Cole, King & Stageberg, P.A., 80 So. 8th Street, Suite
: 2000, Minneapolis, MN, 55402, United States

_ Timothy C. Matson.
- October 4, 201 +

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been made a Pes of the Gopyrignt Office records.

Register of Copyrights, United States of Aruetion

VA 1-917-463

Effective date of
registration:

October 9, 2013

 

Title

Title of Work: Abstract DN Chubby, et al.
Contents Titles: Abstract Brown - abby

Three Chubbies |

Montana Fly Patch
Abstract Brown ‘Pere Marquette

Completion /Publication —_—$<—$ or
2013.
gua 10, 2013

Year of Completion:

Date of Ist Publication: Nation of 1st Publication: United States

 

 

 

     

c (Ma Author: | Derek DeYoung
| GS Ben Author Created: vs 2-D artwork
o  Domiciled in: py Latest States
ea - Copyright claimant
he © ABA LNG LPP Et Claimant: ‘Derek DeYoung
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EX Nek) ee pd hed PM 2000, Minneapolis, MN, 55402, United States
A oA at f | | fia
ih TA ENC] Date October 4, 2013
OS Ne Ne ed Applicant's Tracking Number 40215-01 |
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Certificate of Registration

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Tas Aa tbe ta

Register of Copyrights, United States of America

 

  

Title of Work: Pumpkinseed on Blue
Contents Titles: Pumpkinseed on Blue

Teton Risers - Night

 

Completion / Publication
- Year of Completion: 2012

Date of Ist Publication: August 24, 2012

 

| . A . SSS Author: Derek DeYoung

_ Author Created: -2-D artwork

Domiciled in: United States

Registration Number

VA 1-934-627

Effective date of
registration:

October 23, 2014

Nation of Ist Publication: United States

 

 

Copyright claimant ———

copyent Claimant: Derek DeYoung

c/o Lommen Abdo, P.A., 80 So. 8th St., Ste. 2000, Minneapolis, MN, 55402,

SF United States.

_ Certification:

 

Name: ) Timothy C. Matson
Date: October 23, 2014

_-—_ Applicant's Tracking Number: 40215-01.

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been made a part of the Copyright Office records. .

, “ee VA 1-970-688
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: GC DEN hs | Register of Copyrights, United States of America

 

 

© Title of Works Harvest Moon Riset
| Oss Trout Confetti 1 |
bee BOO Oa) SOx > 4in 1 Full = Lilypads -
ES Oe yal s | Abstract Brown - Mosquito |
- Abstract Walleye Face
| | bsteaet Bass Flank
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@ : oF ic ) : Ca), re | 5: | os : Dek XO : Abstract Brown Flank — Blue |
| 4 in | Orr the Rocks : |

ws Snook Face.

> Abstract Rainbow Royal Wulff
Before the Storm
) Brown Flank — Boat

Abstract Brook Trout — Flank

 

ee XO Nee a) SOB tOx | ~~.) Brown October

1 Completion/Publication

. Pn) PK _ Year of Completion: | 2011

~~, Date of 1st Publication: “December 29, 2011
Nation of 1* Publication: United States

 

2 author.

ae 2}a\\ares Author: Derek DeYoung
Author Created: _2-D artwork
Domiciled in; _ United States

Page 1 of 2

 
 

Certificate of Registration | 5

This Certificate issued under the fal of the Copyright .
Office in accordance with titlé 17, United States Code,
attests that registration has been made for the work
identified below. The information on this certificate has.

been made a eae of the Copyright Office records. ay ONG Registration Number

Ohare  VA1-910-379
On ook a us | | OPO) Effective dateof
(Oden registration: P=
October 9; 2013

  

Register of Copyrights, United States of Ame ior

 

5 : - Title . }
| 5) OG) Title of Work: Abstract Rainbow - Serenity
4 in} #4 Je PXES) )
| Abstract Rainbow - Stimulator.
4in J a€* Face 4
411 Face ac Brigats
Abstract Brown Flank” DEL Ox)
re _. Abstract Cutthroat 4 25 “White Jaw. EG
| Abstract Steelie - Chromer WAX
Dripping Steelie.. PG
aX _ Dripping Pearl.
Css Dresrieunles2 OSD XOXO NGO IXE
5) Abstract Brown, ac Flashback k Pheasant SACS OE
=) Ain 1 Full 3 SON Ox DEX Ose)
Oy cover enone y. ae“ « Grey Wolf LAO DD
y os ‘Abstract Tarpon Face: ae* Red See © y )
| > -Abstract Tarpon Flank YS CDA Cs COE C
=. Abstract ee Rainbow >, » ec 6)
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Completion / Publication —_——————————————————
YEO) ROx Year of Completion: 2008. IO) VOLO VO YOR
“Date of Ist Publication: December 22; 2008) eX Nation of 1st Publication: United States

 

“Author - oes
2 x OX » Be | Author: “Derek DeYoung

“Author Created: LD artwork.

Domiciled i in: Syren Sitraa |

 

"Copyright Ssinant.
eCopyaent Claimant: "Derek DeYoung |

yy eae Lommen, Abdo, ‘Cole, King & Stageberg, PA. 80 So. sth Street, Suite
, 2000, ye Manncap als, MN; 59402; nS States - )

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Office in accordance with title 17, United States Code,
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identified below. The information on this certificate has
been made a part of the Copyright Office records.

 

 

Registration Number
%:
QUAG OK LE Effective date of
| 7 registration:
Register of Copyrights, United States of America October 23.2014
er 23,

Title |

 

Title of Work: Abstract Cutthroat -Yellowstone
Contents Titles: Abstract Cutthroat - Yellowstone

Sailfish - Deep Blue | } , |
Year of Completion: 2009 |

Date of 1st Publication: © March 23, 2009 Nation of Ist Publication: United States
a Author: Derek DeYoung |

Author Created: \2-D artwork
Domiciled in: United States.

| ~ Copyright Claimant; Derek DeYoung

c/o Lommen Abdo, P.A., 80:So. 8th St., Ste. 2000, M

inneapolis, MN, 55402,
“United States :

Certification

 

Name: Timothy C, Matson

Date: October 23, 2014
‘Applicant's Tracking Number: 40215-01

 

Correspondence: Yes

Page. lof 1

 
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Certificate of Registration

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Office in accordance with title 17, United States Code,

attests that registration has been made for the work

identified below. The information on this certificate has

been made a part of the Copyright Office records. “egistration Number

VA 2-101-364

Effective Date of Registration:
7 . September 15, 2017

Acting United States Register of Copyrights and Director

Copyright Registration for One Work by One Author
Registration issued pursuant to 37 CFR §202.3

Title

a

 

Title of Work: —§ Cubist Brown

Completion/Publication :
re ne
Year of Completion: 2017
Date of Ist Publication: July 26, 2017
Nation of 1%' Publication: United States

Author
Sareea aN NN) ee

6 Author: Derek DeYoung
Author Created: 2-D artwork
Citizen of: — United States
Domiciled in: United States

Copyright Claimant

Copyright Claimant: Derek DeYoung

c/o Fox Rothschild LLP, 222 So. 9th St., Ste. 2000, Minneapolis, MN, 55402,
United States

Certification
ee Nh I Nd SPEED OTD) AA CPLR CARO IN CAD eK CD) CPO) EOF) =X

Name: Timothy C, Matson
| Date: September 13; 2017
_ Applicant's Tracking Number: —166783.00002

Neen

Page 1 of 1
Certificate of Registration

~ This Certificate issued under the seal of the Copyright
Office in accordance with title 17, United States Code.
attests that registration has been made for the work
identified below. The information on this certificate has
been made a part of the Copyright Office records.

 

Registration Number —

SB Ee VA 1-970-693
2@7/ ‘ Effective Date of Registration:
| oe aie Le A TU. te October 09, 2013 ed

_ Register of Copyrights, United States of America

 

 

 

2 Title of Work: ibsifael Tarpon Flank — Keys (Sunlight)
Tiger Musky Flank ©)
he Abstract Tarpon Flank — Blue
Abstract Tatoon Bate
Sd Abstract Taipon Face — Blue
(oe Bagle With Trout
“Wahoo Flank
@yarein | Full — Mother's Day Hatch
g Abstract Cutthroat — Slough Creek |
Abstract Brown ~Red Spots 7
: Abstract Sea Trout
oe | Abstract Bowe — Viking
lanhe Sain it
ey Atlantic Suinions 2 2
@) Salt Confetti

4in1 Full - Shades of Bagi

 

~_. Completion/Publication
0 ES ECs “Year of Completion: 2013_
~_)-)-<_) . Date of Ist Publication: June 11, 2013
(Qe Fh Nation of 1% Publication: — United States
a Author) acl ors epee eIO = Lay
re) ~~ Author: > Derek DeYoung —

Page J of 2
Certificate of Registration

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Office in accordance with title 17, United States Code,
attests that registration has been made for the work
identified below. The information on this certificate has

 

 

been made a part of the Copyright Office records. WAT Oa 74 |
; ¢ Ok 4 Effective date of
© Maue. A. Fblets Hien dt
Register of Copyrights, United States of America October 23, 2014

iS

 

Title of Work: Contemporary Brook Trout Illustration

‘Year of Completion: 2010. : mS EY. zy

Date of Ist Publication: March 3 Us | | Nation of 1st Publication: United States

~ Author $$
& Author: Derek DeYoung CSD) DE

Author Created: | 2-D artwork — ei) a

Citizen of: United Sue ¢ 5 | ©) ‘Domiciled in: United States

WAC OSS Copyright Claimant: Derek DeYoung | ON CSD A SSO) | |

c/0 Lommen Abdo, P.A., 80 So. 8th Street, Ste. 2000, Minneapolis, MN,

55402, United States )

A Ces Certification ——_—
VON DELAN AE PYG, Name: “Timothy C, Matson )

os Date: October 23, 2014 }

OW ie Applicant's Tracking Number:  40215-01

 

.-)- Correspondence: . Yes ,

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) Certificate of Registration

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Office in accordance with title 17, United States Code,
attests that registration has been made for the work
identified below. The information on this certificate has

 

 

been made a part of the Copyright Office records. Registration Number
Wy 2 ~VA-1-934-674
X
, Effective date of
OM t ohn Xx registration:

Register of Copyrights, United States of America October 23, 2014

 

ae | Title of Work: Abstract Brookie Flank 2
5completion/ Publication: ————————-———
Year of Completion: 2012. Pay (EY (obs <5), o
| Date of Ist Publication: September 17, 2012 © Nation of Ist Publication: United States
™ Author: Derek DeYoung
Author Created: 2-D artwork —

Citizen of: United States:

— Copyright claimant ——————————
Ss | . Copyright Claimant: Derek DeYoung

Domiciled-in: United States

c/o Lommen Abdo, P-A.; 80.So. 8th Street, Ste. 2000, Minneapolis, MN,
~~ 55402, United'States >

Certification

 

Name: Timothy CG Matson
Date: \ October 23, 2014
©) Applicant's Tracking Number: 40215-01°

 

Correspondence: Yes

Page 1 of 1

 
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Certificate of Registration

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Office in accordance with title 17, United States Code,

attests that registration has been made for the work )
identified below. The information on this certificate has

been made a part of the Copyright Office records, Registration Number

Wy | VA 1-900-160

Effective date of
arm i registration:
Register SF oO iplie United States of America | ‘a)) September 26, 2013

 

3 Title cS

 

Title of Work: A inv} Full - Big Hole
‘Previous or Alternative Title: 4 j in se Series, ,

od,

" Completion/Publication SSSOESSSESSaEETaEeSaeee ee

Year of Completion: 2013 POG)
Date of 1st Publication: June 26, 2013

2) Nation of 1st Publication: United States

 

Sea Author: Derek DeYoung
: Author Created: 2D artwork

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_ Copyright IaiHisne -
i Copyrignt Claimant: | “Derek DeYoung

aC Domiciled in: United States

 

l~ PASSO) <C os Ze ¢/o Lommen, Abdo, Cole, Ring & Sicha: PA. 80 So. Sth Street, Suite
CDE SD2ZE =D: a5 2000, eAiuneabolis MN, 95402, United States

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Certification ~—— =

as VeI | : « : ; | . , ) a 4 : c Nam e “Timothy ao Matson

Se : « ao) Date: September 2 24, 2013.

; y os : eX <> _ Applicant's Tracking Number: 40215. OL 7

 

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Certificate of Registration

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Office in accordance with title 17; United States Code,
attests that registration has been made for the work
identified below. The information on this certificate has

Registration Number
been made a part of the Copyright Office records,

VA 2-218-646

° Effective Date of Registration:
January 21, 2020
3 Registration Decision Date:
Acting United States Register of opyrights and Director

October 09, 2020

 

Copyright Registration for One Work by One Author
Registration issued pursuant to 37 CFR §202.3 |

Title

 

Title of Work: — Emierant Risers

Completion/Publication
ST er
Year of Completion: 2019
Date of 1st Publication: April 14, 2019
Nation of 1‘ Publication: United States

Author OXG
« ‘Author? Derek DeYoung =

Author Created: > Painting
Citizen of: United States

Copyright Claimant = =——S—S
Copyright Claimant; Derek DeYoung |
= 5). c/o Fox Rothschild LLP, 222 So: 9th Street, Ste: 2000. Minneapolis, MN, 55402,
United States ~

Centifications aa
‘Name: Timothy C, Matson, Authorized agent of Author/Owner

ete _. Date: January 17, 2020
Applicant's Tracking Number: 166783.00002 |

   

: Copyright Office notes: | Regarding basis for registration: A work may be registered with the Single
, : » Application only if the following requirements have been met: |) The

Page 1 of 2

 
